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                 IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:Jose A. Canales                   :   CHAPTER 13
      xxx-xx-5317                       :   CASE NO. 19-18043-ELF
      Alicia Canales                    :
      xxx-xx-9085                       :   HEARING DATE:
      7313 Chestnut Avenue              :   TIME:
      Elkins Park PA 19027              :   LOCATION: COURT ROOM No. 1
                                        :   United States Bankruptcy Ct.
             Debtor(s)                  :   900 Market St., 2nd Floor
                                        :   Philadelphia, PA 19107

                                     ORDER

     AND NOW, this       14th       day of       January                , 2020,

it is hereby ORDERED that the Debtors, Jose A. Canales and Alicia

Canales, shall be granted an additional period of time, not to

exceed 30 days, or until             January 20          , 2020, in which to

file schedules, statement of affairs, Plan, and other documents

(if any) as a part of their Petition in Bankruptcy.



                                             BY THE COURT:




                                             Eric L. Frank
                                             U.S. Bankruptcy Judge
